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                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

IN RE:
                                                             CHAPTER 11
JDI CUMBERLAND INLET, LLC
                                                             CASE NO: 25-55072-sms
         Debtor.



MOTION OF CAMDEN COUNTY JOINT DEVELOPMENT AUTHORITY FOR RULE
 2004 EXAMINATION OF THE DEBTOR AND PRODUCTION OF DOCUMENTS

         Camden County Joint Development Authority (the “Development Authority”) moves

for entry on an order authorizing the examination of the Debtor and the production of documents

from the Debtor pursuant to Fed. R. Bankr. P. 2004.

                                        Procedural History

         1.        On May 5, 2025, JDI Cumberland Inlet, LLC (the “Debtor”) filed a voluntary

bankruptcy petition under chapter 11 of the Bankruptcy Code.

         2.        On May 22, 2025, the Debtor filed its bankruptcy schedules and statement of

financial affairs (the “Schedules”). (Doc. 11.)

         3.        The Debtor’s representative failed to appear at the 341 meeting of creditors

scheduled for June 9, 2025.

                                            Background

         4.        Jacoby Development Inc. (“Jacoby Development”), the City of St. Marys, and

the Development Authority entered into a Development Agreement (the “Development

Agreement”) dated September 16, 2020. Thereafter, Jacoby Development assigned the

Development Agreement to the Debtor but was not released of its obligations thereunder. The




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Debtor’s Schedules reflect that Jacoby Development is the 100% equity interest holder in the

Debtor. (Doc 11, p. 18.)

         5.        Consistent with the Development Agreement, the Development Authority issued

its Series 2020 Bond, the proceeds of which were used, in part, to make a loan (the “Loan”) to

the Debtor for the acquisition of all or substantially all the Debtor’s real property. A summary of

the loan transaction (the “Loan Summary”) is set forth on attached Exhibit “A.” As described

in the Loan Summary, the Debtor executed a Guaranty in favor of the Development Authority

pursuant to which it also absolutely and unconditionally guaranteed repayment of the Series

2020 Bond.

         6.        The Loan is secured by all or substantially all of the Debtor’s real property. 1

         7.        The Debtor’s performance under the Development Agreement, the Loan, and

related Loan Documents (as described in the Loan Summary) is of great public importance to the

Development Authority, the City of St. Marys and Camden County, Georgia.

                             Areas of Inquiry and Requested Documents

         8.        The Development Authority seeks authorization to examine the Debtor regarding

the following subjects: (a) its assets and liabilities; (b) its financial affairs; (c) the Schedules

(Doc.11); (d) the Debtor’s real property, including its value and development; (e) the

Development Agreement, including the Debtor’s performance under the agreement; (f) the Loan

and related Loan Documents; (g) adequate protection; (h) the prospects for reorganization; (i)

efforts to refinance the Loan; (i) efforts to secure financing to develop its real property in

conformity with the Development Agreement or otherwise; (j) efforts to secure additional capital


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  The Debtor’s Schedules reflect that the Development Authority has a non-contingent, liquidated, and undisputed
secured claim in the amount of $9,386,336.58 which is secured by the Debtor’s real property. (Doc. 11, p. 9.) The
Development Authority’s secured claim is more than the scheduled amount. The Development Authority will file
its proof of claim in due course.

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to develop its real property in conformity with the Development Agreement or otherwise; (k)

efforts to sell the Debtor’s real property or any portions thereof; (l) bad faith in connection with

filing the Petition; and (m) matters that may affect the administration of the Debtor’s estate.

         9.        The Development Authority requests that the Debtor produce the following

categories of documents in connection with the examination: (a) all letters of intent, commitment

letters, expressions of interest, or similar documents regarding refinancing the Loan; (b) all

letters of intent, commitment letters, expressions of interest, or similar documents regarding

financing development of the Debtor’s real property; (c) all documents that the Debtor contends

show its efforts to secure financing to develop the Debtor’s real property in conformity with the

Development Agreement or otherwise; (d) all documents that the Debtor contends shows its

efforts to raise additional capital to develop the Debtor’s real property in conformity with the

Development Agreement or otherwise; (e) all documents related to or otherwise supporting the

Debtor’s valuation of its real property as reflected in the Schedules; (f) all appraisals of the

Debtor’s real property or any portion thereof; (g) all documents that show any attempts or efforts

by the Debtor to sell or lease its real property or any portion thereof in conformity with the

Development Agreement or otherwise; (h) any drafts of the “Master Plan”, the “Implementation

Plan”, and the “Plan of Finance” described in the Development Agreement; and (i) all plans,

drawings, specifications, contracts, and subcontracts regarding development of Debtor’s real

property.

         WHEREFORE, the Development Authority requests the entry of an order substantially in

the form attached hereto authorizing the Development Authority to conduct a 2004 examination

of the Debtor in person at a mutually convenient time and place in Camden County, Georgia

(unless otherwise agreed) on or before July 18, 2025, requiring the Debtor to produce any



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documents in its possession or control that are responsive to the categories of documents set

forth above no later than five (5) business days in advance of the 2004 exam, and granting such

additional and further relief as the Court determines is appropriate.


Dated: June 18, 2025                          BRADLEY ARANT BOULT CUMMINGS LLP

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                                              Counsel for Camden County Joint Development
                                              Authority




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                                  [form of proposed order]




                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:
                                                          CHAPTER 11
JDI CUMBERLAND INLET, LLC
                                                          CASE NO: 25-55072-sms
         Debtor.



                           ORDER GRANTING
         MOTION FOR EXAMINATION PURSUANT TO FED. R. BANKR. P. 2004

         The motion of Camden County Joint Development Authority (“Movant”) for an order

authorizing the examination of JDI Cumberland Inlet, LLC pursuant to Rule 2004 having been

read and considered, it is

         ORDERED that the motion is GRANTED to permit that examination in accordance

with Fed. R. Bankr. P. 2004(b) and that the Debtor, JDI Cumberland Inlet, LLC, shall appear in

person for examination by Movant at a mutually convenient time and place in Camden County,

Georgia (unless otherwise agreed) on or before July 18, 2025.



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         IT IS FURTHER ORDERED that, subject to timely objection, the Debtor, in an orderly

fashion, shall produce no later than five (5) business days in advance of said examination the

records and documents listed in the foregoing Motion.

                                     END OF DOCUMENT


Prepared and presented by:

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                                CERTIFICATE OF SERVICE

        I hereby certify that on this day I electronically filed the foregoing with the Clerk of the
Court and served the following using the CM/ECF system which will send notification of such
filing to those parties who receive electronic notices via CM/ECF in the above-referenced case,
including:

Ron C. Bingham, II on behalf of Creditor Matsco, Inc.
ron.bingham@arlaw.com, lianna.sarasola@arlaw.com

Ceci Christy on behalf of Debtor JDI Cumberland Inlet, LLC
cchristy@rlkglaw.com,wgeer@rlkglaw.com;willgeer@ecf.courtdrive.com;2836@notices.nextch
apterbk.com;6717577420@filings.docketbird.com;emiller@rlkglaw.com;dsideris@rlkglaw.com;
lmassey@rlkglaw.com

Lindsay P. S. Kolba on behalf of U.S. Trustee United States Trustee
lindsay.p.kolba@usdoj.gov

William A. Rountree on behalf of Debtor JDI Cumberland Inlet, LLC
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                                              By:    /s/ Bryan E. Bates
                                                     Bryan E. Bates




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